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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES IF AMERICA,                       Case No. 1:02-cr-05301-DAD-16
12                      Plaintiff,
13           v.                                      ORDER GRANTING GOVERNMENT’S
                                                     MOTION TO DISMISS SUPERSEDING
14   JOSEPH PAUL DURBOROW,                           INDICTMENT
15                      Defendant.                   (Doc. No. 667)
16

17           Under Rule 48(a) of the Federal Rules of Criminal Procedure, the United States has

18   moved for an order dismissing the charges in the superseding indictment in the above-captioned

19   action against the above-named defendant. It is hereby ORDERED that the superseding

20   indictment is dismissed, as to JOSEPH PAUL DURBOROW only, and the related arrest warrant

21   is recalled.

22   IT IS SO ORDERED.
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         Dated:     February 28, 2017
24                                                       UNITED STATES DISTRICT JUDGE

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